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AND MAILING ADDRE§S 0 Appolnt|n¢ Conluel l;| C Co-Counsel w. D. OF TN, m
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otherwlae lllisfled this com tillt he or she (1) ls fill llly unable to employ counsel and

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CATEGORIES (A|tach itemization olservir:es with dates)

a. Arraignment and/or Plea

HOURS
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b. Bail and Detention Hearings

 

 

 

 

 

e. Motion Hearings .
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e. Sentencing Hearings

 

 

 

 

 

 

 

 

 

 

 

 

 

f. Revocation Hearings

 

 

 

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g. Appeals Court
h. Other (Specil'y on additional sheets)

 

 

 

 

 

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16. a. Interviewa and Conferences

 

 

 

u h. Obtaiuing and reviewing records

 

 

 

c. Legai research and briefwrh|ng

 

 

 

 

 

 

 

 

 

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C d. Travel time

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17. Travel Expenses (lodglng, parking, meals, mt|eage, ete.)

  
  

 

 

 

 

 

Other Expenses

 

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UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

